8:11-cr-00294-JFB-FG3      Doc # 113   Filed: 06/10/13   Page 1 of 1 - Page ID # 321




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

  UNITED STATES OF AMERICA,               )
                                          )
                       Plaintiff,         )
                                          )               8:11CR294
               vs.                        )
                                          )               ORDER
  KYLE J. KRUGER,                         )
                                          )
                       Defendant.         )

        Defendant Kyle J. Kruger appeared before the court on Monday, June 10,
  2013 on a Petition for Warrant or Summons for Offender Under Supervision
  [101]. The defendant was represented by CJA Panel Attorney Matthew R.
  Kahler and the United States was represented by Assistant U.S. Attorney David
  M. Wear on behalf of Kimberly C. Bunjer. The government did not request
  detention therefore, the Defendant was not entitled to a preliminary examination.
  The defendant was released on current terms and conditions of supervision.
        I find that the Report alleges probable cause and that the defendant should
  be held to answer for a final dispositional hearing before Judge Bataillon.
        IT IS ORDERED:
        1.     A final dispositional hearing will be held before Judge Bataillon in
  Courtroom No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th
  Plaza, Omaha, Nebraska, on July 23, 2013 at 1:00 p.m. Defendant must be present
  in person.
        2.     The defendant is released on current conditions of supervision.


        DATED this 10th day of June, 2013.

                                                 BY THE COURT:

                                                 s/ F. A. Gossett
                                                 United States Magistrate Judge
